431 F.2d 877
    A. T. GARRETT, Petitioner,v.NATIONAL TRANSPORTATION SAFETY BOARD, Respondent.
    No. 29317 Summary Calendar.**
    United States Court of Appeals, Fifth Circuit.
    August 24, 1970.
    
      Alton T. Garrett, pro se.
      William D. Ruckelshaus, Asst. Atty., Gen., Ralph A. Fine, Morton Hollander, Robert E. Kopp, Attys., Dept. of Justice, Washington, D. C., for respondent; Fritz L. Puls, Gen. Counsel, David C. Zimmerman, Deputy Gen. Counsel, National Transportation Safety Bd., Washington, D. C., of counsel.
      Before WISDOM, COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Alton T. Garrett, an airplane mechanic, seeks review of an order of the National Transportation Safety Board upholding the Federal Aviation Administrator's suspension of Garrett's mechanic's certificate for fifteen days for violation of Federal Aviation Regulations. Substantial evidence supports the action of the Board.
    
    
      2
      Garrett, after performing a 100-hour inspection of the airframe and engine of a privately-owned light aircraft certified in the aircraft's maintenance and engine logs that the aircraft and its engine were airworthy. Later, inspectors for the Federal Aviation Administration found that at the time Garrett had made the entries in the logs the aircraft was not airworthy. He contended that he had not certified the plane to be airworthy but had made log entries that were temporary, pending inspection of the plane by another inspector. The National Transportation Safety Board found that its regulations, 14 C.F.R. 43.11, provides for no such temporary determinations and that it is the duty of the mechanic to make a determination of airworthiness. This was a reasonable interpretation of the regulation.
    
    
      3
      The order of the National Transportation Safety Board is affirmed.
    
    
      
        Notes:
      
      
        **
         [1] Rule 18, 5th Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5th Cir., 1970, 431 F.2d 409, Part I
      
    
    